
703 So.2d 1212 (1997)
S.S., Natural Father of T.S., A Minor Child, Appellant,
v.
J.M.N., Grandparent of T.S., A Minor Child, Appellee.
No. 97-491.
District Court of Appeal of Florida, First District.
December 31, 1997.
Darryl D. Kendrick of Donohoe and Kendrick, Jacksonville, for Appellant.
J.M.N., Jacksonville, Pro Se.
PER CURIAM.
We deny the petition for a writ of certiorari on the authority of Sketo v. Brown, 559 So.2d 381 (Fla. 1st DCA 1990). However, we certify conflict with Fitts v. Poe, 699 So.2d 348 (Fla. 5th DCA 1997), and we certify the same question certified in Von Eiff v. Azicri, 699 So.2d 772, 778 (Fla. 3d DCA 1997):
MAY THE STATE CONSTITUTIONALLY ALLOW REASONABLE GRANDPARENT VISITATION WHERE ONE OR BOTH PARENTS OF A CHILD ARE DECEASED AND VISITATION IS DETERMINATED *1213 TO BE IN THE BEST INTERESTS OF THE CHILD?
ALLEN, WEBSTER and DAVIS, JJ., concur.
